 
 

e 8:19-cr-00045-JLS Document 2 Filed 03/11/19 Pagelof2 Page ID#:11
UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

 

 

 

U.S.A. v. Michael Miller

 

[| Indictment’ Information

Defendant Number 1
Year of Birth 1977

 

 

Investigative agency (FBI, DEA, etc.)

NOTE: Allitems MUST be completed. If you do not know the answer or a question is not applicable to your case, enter "N/A."

OFFENSE/VENUE

a. Offense charged as a:

[_] Class A Misdemeanor [_] Minor Offense [_] Petty Offense
[-] Class B Misdemeanor [_] Class C Misdemeanor [7] Felony
b. Date of Offense Oct 2012-Jan 2018

 

c, County in which first offense occurred

Orange County

 

d. The crimes charged are alleged to have been committed in
(CHECK ALL THAT APPLY):

Los Angeles |] Ventura

Orange | [_] Santa Barbara
[_] Riverside [_] San Luis Obispo
[_] San Bernardino [-] Other

Citation of Offense 18U.S.C.§371

 

 

e, Division in which the MAJORITY of events, acts, or omissions
giving rise to the crime or crimes charged occurred:

| Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura}
[_] Eastern (Riverside and San Bernardino) Southern (Orange)

RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial?

[¥] No [¥] Yes

If "Yes," Case Number:

 

Pursuant to General Order 16-05, criminal cases may be related
if a previously filed indictment or information and the present
case!

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or:

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any (MUST MATCH NOTICE OF RELATED
CASE): United States v. Tiffany Rogers SA 18-CR-0057-JLS

 

 

 

PREVIOUSLY FILED COMPLAINT/CVB CITATION oS
“

oS

A complaint/CVB citation was previously. fled

  

Case Number:

 

Assigned Judge:

 

Charging: \. “el - -,
The complaint/CVB citation: te OG
[_] is still pending wee
[_] was dismissed on: SS

PREVIOUS COUNSEL
Was defendant previously represented?

 

[_]No [] Yes

IF YES, provide Name:

 

Phone Number:

COMPLEX CASE

Are there 8 or more defendants in the Indictment/Information?
[_] Yes* [Y] No

Will more than 12 days be required to present government’ s

evidence in the case-in-chief?

[_] Yes* No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
CHECKED.

SUPERSEDING INDICTMENT/INFORMATION
IS THIS ANEW DEFENDANT? [_] Yes [_] No
superseding charge (i.e., Ist, 2nd).

 

 

This is the
The superseding case was previously filed on:

 

Case Number

 

The superseded case:
[_] is still pending before Judge/Magistrate Judge

 

[_] was previously dismissed on

 

Are there 8 or more defendants in the superseding case?

[ ] Yes* [_] No
Will more than 12 days be required to present government's
evidence in the case-in-chief?

[_] Yes* [ ] No
Was a Notice of Complex Case filed on the Indictment or .
Information?
|] No

[] Yes
*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
FILED IF EITHER "YES" BOX IS CHECKED.

 

CR-72 (12/17)

CASE SUMMARY

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

 

INTERPRETER
Is an interpreter required? —_[_] YES NO
IF YES, list language and/or dialect:

 

OTHER ©

Male - [_] Female
U.S. Citizen [_] Alien

Alias Name(s)

 

 

This defendant is charged in:
All counts

[] Only counts:

 

[_] This defendant is designated as “High Risk" per
18 USC § 3146(a)(2) by the U.S. Attorney.

[_] This defendant is designated as “Special Case" per
18 USC § 3166(b)(7).

Is defendant a juvenile? [] Yes []No
IF YES, should matter be sealed? [_] Yes [_] No

The area(s) of substantive law that will be involved in this case
include(s):

 

 

CUSTODY STATUS

Defendant is not in custody:
a. Date and time of arrest on complaint:

b. Posted bond at complaint level on:
inthe amount of $ -

c.PSA supervision? [_] Yes [_]No
d. Is on bail or release from another district:

 

 

Defendant is in custody:
a, Place of incarceration: [_] State [_] Federal

b. Name of Institution:

 

c. If Federal, U.S. Marshals Service Registration Number:

 

d.[_] Solely on this charge. Date and time of arrest:

 

e. On another conviction: — [] Yes [] No

IFYES: [_] State [_] Federal [_] writ of Issue
f. Awaiting trial on other charges: [_] Yes [_] No

IFYES: [|] State [] Federal AND

Name of Court:

 

Date transferred to federal custody:

 

[_] financial institution fraud [_] public corruption This person/proceeding is transferred from another district

[| government fraud [_] tax offenses pursuanttoF.RCrP, 20 7! __40
[_] environmental issues “LJ mail/wire fraud

[_] narcotics offenses [_] immigration offenses

[_] violent crimes/firearms [_] corporate fraud

[_] Other

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:

 

 

 

Date 3/7/2019

/s/
Signature of Assistant U.S. Attorney
Ashwin Janakiram

Print Name

 

 

 

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